                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
                         GREEN BAY DIVISION

CHADRICK WHITE,

                   Plaintiff,

      vs.                                                Case No. 18-cv-1515

PFISTER BULK TRANSPORT, LLC,

                   Defendant.


     STIPULATED FED. R. CIV. P. 41 DISMISSAL WITH PREJUDICE


      Plaintiff Chadrick White and Defendant Pfister Bulk Transport, LLC, by and

through their undersigned counsel and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), hereby request that the above-captioned case be dismissed with

prejudice and without costs to any party.

      Dated this 8th day of February, 2019.

      Respectfully submitted,                 Respectfully Submitted,

       s/ James R. Phelan                     s/ Timothy P. Maynard
      James R. Phelan, SBN 1057611            Larry A. Johnson, SBN 1056619
      jphelan@remleylaw.com                   ljohnson@hq-law.com
                                              Summer H. Murshid, SBN 1075404
                                              smurshid@hq-law.com
                                              Timothy P. Maynard, SBN 1080953
                                              tmaynard@hq-law.com

      Remley & Sensenbrenner, S.C.            Hawks Quindel, S.C.
      219 E. Wisconsin Ave.                   222 E Erie Street, Suite 210
      Neenah, WI 54956                        Milwaukee, WI 53202
      (920) 725-2601 (office)                 (414) 271-8650 (office)
      (920) 725-5814 (facsimile)              (414) 271-8442 (facsimile)

      Attorney for Defendant                  Attorneys for Plaintiff


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